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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 Alliance for Hippocratic Medicine, et al.,

                                 Plaintiffs,

         v.                                        Case No. 2:22-cv-00223-Z

 U.S. Food and Drug Administration, et al.,

                                 Defendants.


                                   NOTICE OF APPEARANCE

       Please enter the appearance of the undersigned counsel for Defendants in the above-

captioned matter. Please note the following contact information for Ms. Straus Harris:

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Dated: March 10, 2023                              Respectfully Submitted,
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